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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )
                                                         )
                          Plaintiff,                     )                       8:02CR238
                                                         )
        vs.                                              )                       ORDER
                                                         )
DONALD H. ASAY,                                          )
TERRY J. SAMOWITZ,                                       )
GREGORY W. ENGER and                                     )
DONALD A. HEIDEN,                                        )
                                                         )
                          Defendants.                    )


        This matter is before the court on the motion of Donald H. Asay (Asay) and Terry J.
Samowitz’s (Samowitz) Motion to Sever (Filing No. 267), for which the movants filed a brief
(Filing No. 268). Gregory W. Enger also joined in the arguments to sever (TR. 245). The
government filed a brief (Filing No. 283), in opposition to the motion to sever.1 The court
heard evidence and additional argument related to the motions on March 1-2, 2005. The
transcript (TR.) of the hearing was filed on March 10, 2005. See Filing No. 298.2


                                              BACKGROUND
        The defendants are charged in an eighteen-count indictment with mail fraud in violation
of 18 U.S.C. §§ 2 and 1341 (Counts 1-15); wire fraud in violation of 18 U.S.C. §§ 2 and 1343
(Count 16); conspiracy to launder money in violation of 18 U.S.C. §§ 2 and 1956(h) (Count
17); and criminal forfeiture under 18 U.S.C. § 982 (Count 18). See Filing No. 240. The
charges are based upon allegations the defendants fraudulently represented they were buying
for closed-door pharmacies, to purchase pharmaceuticals at a discounted rate, with the intent


        1
          The government’s brief was initially filed in opposition to the motion to sever filed by Donald A. Heiden
(Filing No. 257), which motion was later withdrawn during the hearing of pending motions. See Filing No. 291
(Minute entry).

        2
          The transcript was originally filed on March 10, 2005, as Filing No. 295, however a corrected transcript
was filed on June 10, 2005, as Filing No. 298. The court will refer to the later filed transcript in this order.
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to illegally divert pharmaceuticals to a wholesale market for higher profit. A closed-door
pharmacy is one which typically purchases pharmaceuticals at a discounted rate, below
wholesale rates, and dispenses to institutional clients such as hospital, prison or nursing home
patients, rather than to retail locations. See id. ¶¶ 3-4. The closed-door pharmacies only
receive the discounted rate if they certify, with an “own-use” certification, that the
pharmaceuticals are purchased for its own-use or will be dispensed only to patients in its
institutional locations. See id. ¶ 4. The closed-door pharmacies often join buying groups
whose business it is to negotiate contract prices with the pharmaceutical manufacturers. See
id. ¶ 5.


                                             ANALYSIS
           Asay and Samowitz seek to sever the claims against them from the claims and any trial
of Enger and Heiden, pursuant to Federal Rules of Criminal Procedure 8 and 14. Enger
agrees. The moving defendants contend they each operated different pharmacies and the
jury would have difficulty separating and compartmentalizing the evidence as it relates to the
separate defendants. Additionally, the moving defendants argue Enger3 and Heiden testified
before grand juries, which testimony should not be admissible against the remaining
defendants. Under these circumstances, the defendants contend a joint trial would severely
prejudice them.


A.         Joinder of Defendants Pursuant to Rule 8
           In determining whether a defendant is entitled to a separate trial, the court must decide
whether joinder was proper under Rule 8 and whether joinder is likely to have a “substantial
and injurious effect or influence in determining the jury’s verdict.” United States v. Lane, 474
U.S. 438, 449 (1986) (quoting Kotteakos v. United States, 328 U.S. 750, 776 (1946)).
Rule 8 of the Federal Rules of Criminal Procedure provides:



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         The moving defendants introduced Exhibit 103, the transcript of Enger’s Grand Jury testimony, in
support of their motion to sever.

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              The indictment or information may charge 2 or more defendants
              if they are alleged to have participated in the same act or
              transaction, or in the same series of acts or transactions,
              constituting an offense or offenses. The defendants may be
              charged in one or more counts together or separately. All
              defendants need not be charged in each count.
Fed. R. Crim. P. 8(b).
       Joinder under Rule 8(b) requires that there be a factual interrelationship among all the
joined defendants and counts. United States v. Bledsoe, 674 F.2d 647, 656-57 (8th Cir.
1982). In determining, before trial, whether or not joinder was proper, the court must evaluate
whether this factual interrelationship is alleged in the Indictment. Id. at 655; United States v.
Andrade, 788 F.2d 521, 529 (8th Cir. 1986); see also United States v. Jones, 880 F.2d
55, 62-63 (8th Cir. 1989). Rule 8(b) requires that there be some common activity involving all
the defendants which embraces all the charged offenses, but it is not necessary that each
defendant have participated in each act or transaction of the series. United States v.
Liveoak, 377 F.3d 859, 864 (8th Cir. 2004). The prerequisites for joinder of defendants
under Rule 8(b) are liberally construed and persons charged with having been involved in a
single conspiracy should ordinarily be tried together. See id.; see also United States v.
Adams, 401 F.3d 886, 895 (8th Cir. 2005).
       In Counts 1 through 15, the Superceding Indictment allege mail fraud. See Filing No.
240. Counts 1 through 7 relate specifically to the activities of Landmark Pharmacy Services
(LPS) a business owned and operated by Asay and Samowitz. Counts 8 through 12 relate
specifically to the activities of Ovation Pharmacy Consultants, Inc. (Ovation Pharmacy), a
business owned and operated by Enger. The Superceding Indictment also alleges Ovation
Pharmacy was organized with the assistance of associates of the defendant Asay. Counts
13 through 15 relate specifically to the activities of Spring Pharmacy Services (Spring
Pharmacy), a business owned and operated by Heiden. The Superceding Indictment also
alleges Spring Pharmacy was organized with the financial and operational assistance of the
defendant Asay.




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       In Count 16, the Superceding Indictment alleges wire fraud by all four defendants by
transmitting a document by facsimile. In Count 17, the Superceding Indictment alleges
conspiracy to launder money by all four defendants. Specifically, the four defendants opened
various bank accounts and that Asay and Samowitz opened and caused others to open bank
accounts in the names of the purported “closed-door” pharmacies, including LPS Pharmacy,
Landmark Wholesale, Spring Pharmacy, D&K Distributing, Ovation Pharmacy and Sage
Wholesale. The four defendants deposited proceeds from the wire and mail fraud scheme
into the bank accounts described above and used the proceeds to purchase additional
pharmaceuticals. Finally, Count 18 is for criminal forfeiture based on Counts 1-17.
       Liberally construing the Superceding Indictment, the court finds a sufficient factual
interrelationship is alleged. The allegations reveal a common activity involving all of the
defendants, although not every defendant is named in every count or participated in each act
or transaction. Accordingly, the defendants are properly joined pursuant to Rule 8(b).


B.     Prejudicial Joinder Pursuant to Rule 14
       “When defendants properly have been joined under Rule 8(b), a district court should
grant a severance under Rule 14 only if there is a serious risk that a joint trial would
compromise a specific trial right of one of the defendants.” Zafiro v. United States, 506 U.S.
534, 539 (1983); see United States v. Pherigo, 327 F.3d 690, 693 (8th Cir. 2003) (“To grant
a motion for severance, the necessary prejudice must be ‘severe or compelling.’”). “[T]here
is a strong presumption for their joint trial, as it ‘gives the jury the best perspective on all of the
evidence and therefore increases the likelihood of a correct outcome.’” United States v.
Flores, 362 F.3d 1030, 1039 (8th Cir. 2004) (citing United States v. Darden, 70 F.3d 1507,
1528 (8th Cir. 1995)).
       Rule 14 of the Federal Rules of Criminal Procedure provides in part:
               If the joinder of offenses or defendants in an indictment, an
               information, or a consolidation for trial appears to prejudice a
               defendant or the government, the court may order separate trials
               of counts, sever the defendants’ trials, or provide any other relief
               that justice requires.


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Fed. R. Civ. P. 14(a).
       There is a preference in the federal system for joint trials of defendants who are
indicted together. Zafiro v. United States, 506 U.S. 534, 537 (1993); United States v. Noe,
No. 03-3878, 2005 WL 1353938, at *4 (8th Cir. June 9, 2005); Flores, 362 F.3d at 1039.
Joint trials play a vital role in the criminal justice system. Zafiro, 506 U.S. at 537. They
promote efficiency and “serve the interests of justice by avoiding the scandal and inequity of
inconsistent verdicts.” Richardson v. Marsh, 481 U.S. 200, 209-10 (1987). The Eighth
Circuit has held “it is rarely improper for co-conspirators to be tried together.” United States
v. Evans, 285 F.3d 664, 670 (8ht Cir. 2002); see Noe, 2005 WL 1353938, at *4. However,
Fed. R. Crim. P. 14 reflects the recognition that joinder, even when proper under Rule 8(b),
may prejudice a defendant. Consequently, if it appears a defendant may be prejudiced by a
joinder either of the defendants or the counts for trial together, the court may order an election
or separate trials of counts, grant a severance of defendants or provide whatever other relief
justice requires. The Zafiro Court concluded:
               [W]hen defendants properly have been joined under Rule 8(b), a
               district court should grant a severance under Rule 14 only if there
               is a serious risk that a joint trial would compromise a specific trial
               right of one of the defendants, or prevent the jury from making a
               reliable judgment about guilt or innocence. Such a risk might
               occur when evidence that the jury should not consider against a
               defendant and that would not be admissible if a defendant were
               tried alone is admitted against a codefendant. For example,
               evidence of a codefendant’s wrongdoing in some circumstances
               erroneously could lead a jury to conclude that a defendant was
               guilty. When many defendants are tried together in a complex
               case and they have markedly different degrees of culpability, this
               risk of prejudice is heightened. . . . Evidence that is probative of
               a defendant’s guilt but technically admissible only against a
               codefendant also might present a risk of prejudice. See Bruton
               v. United States, 391 U.S. 123 (1968). Conversely, a defendant
               might suffer prejudice if essential exculpatory evidence that
               would be available to a defendant tried alone were unavailable
               in a joint trial. . . . The risk of prejudice will vary with the facts in
               each case. . . . When the risk of prejudice is high, a district court
               is more likely to determine that separate trials are necessary,
               but, as we indicated in Richardson v. Marsh, less drastic

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              measures, such as limiting instructions, often will suffice to cure
              any risk of prejudice. See 481 U.S. at 211.
Zafiro, 506 U.S. at 539; see also United States v. Pou, 953 F.2d 363, 368 (8th Cir. 1992).
“Severance is not required simply because the evidence may have been more damaging
against one [defendant] than the others. . . Severance does, however, become necessary
where the proof is such that a jury could not be expected to compartmentalize the evidence
as it relates to separate defendants.” Noe, 2005 WL 1353938, at *4 (internal quotations and
citations omitted).


       1.     Difficulty for Jury
       The defendants may show prejudice requiring severance where “the jury will be unable
to compartmentalize the evidence as it relates to separate defendants.” United States v.
Abfalter, 340 F.3d 646, 652 (8th Cir. 2003) (citation omitted). In consideration of the jury’s
ability to compartmentalize the evidence against the joint defendants, the court considers the
complexity of the case. Pherigo, 327 F.3d at 693. It is not necessary to sever the defendants
“when evidence which is admissible only against some defendants may be damaging to
others or when there is varying strength in the evidence against each defendant.” United
States v. Lee, 374 F.3d 637, 646 (8th Cir. 2004) (internal citations omitted).
       The defendants contend the evidence will confuse the jury because of the relationships
between the defendants, the complexity of the case, the quantity and quality of proof and the
similarities in the types of business operational plans alleged. The defendants each ran a
pharmacy and a wholesale operation. However, each had their own contracts with buying
groups, and dealt in different states with different products and different customers.
       The government argues the case is not as complex as the defendants state because
the fraudulent scheme, itself, is simple and the same for each defendant. Additionally,
although there is different evidence against each defendant, most of the evidence is
admissible against them all. During the hearing, evidence was presented to link the activities
of each of the defendants and show the interrelationships of the separate organizations. The
parties presented evidence during the hearing showing each of the defendants shipped


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pharmaceuticals through Landmark Wholesale to Merit Distributors (TR. 55-56, 67, 100).
Additionally, after Enger’s contact, Darin Asay, went out of business Enger began doing
business with defendant Donald Asay (TR. 101-104). Finally, there is evidence Asay and
Samowitz, both from Landmark Wholesale, would tell the other pharmacies which
pharmaceuticals to purchase for later shipment to Merit Distributors (TR. 55-56). The only
evidence the defendants contend will not be admissible against all defendants are certain
statements of Enger, which will be discussed below.
       The court notes, moreover, that cautionary instructions for the jury to give separate
consideration to the evidence about each individual defendant should be sufficient in this
case. See United States v. Ghant, 339 F.3d 660, 666 (8th Cir. 2003); see also Zafiro, 506
U.S. at 539. Despite the different facts affecting the involvement on the part of each of the
defendants, we believe that the jury will be able to compartmentalize the evidence against
each of them. See United States v. Kuenstler, 325 F.3d 1015, 1024 (8th Cir. 2003).
Therefore, the court concludes the motion to sever should be denied based on the defendants’
failure to show prejudice due to juror confusion.


       2.     Prejudicial Statements by a Co-Defendant Under Bruton
       Asay and Samowitz contend they will be prejudiced at a joint trial by the statements
made by Enger to a grand jury in 1999. These defendants argue that, although the statements
do not name Asay or Samowitz, the statements describe the business transactions entered
into by Enger, based on the business model supplied by Darin Asay, including the use of “own
use” contract provisions. The statements do not mention Landmark, but the business structure
is nearly identical to the structure of Asay and Samowitz’s business operations.
       Enger’s September 9, 1997 grand jury testimony (Exhibit 103) describes how he met
Darin Asay through an architectural project. Enger, who had previously been interested in the
pharmaceutical business then asked questions of Darin Asay about the business. Enger
stated he engaged in research on the topic and eventually opened his own pharmacy, Ovation
Pharmacy, in January 1997. Enger described his understanding of a closed-door pharmacy
and own-use representations. Enger stated Ovation Pharmcay sold pharmaceuticals through

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his own wholesale company, Sage Wholesale, to Empire Distributors, which he believed was
owned by Wendy, Darin Asay’s wife.           Enger stated Darin Asay would order certain
pharmaceuticals from Ovation Pharmacy. However, Enger denied he received a business
plan from Darin Asay. Enger stated he developed his business operations through his own
observations and research. During the testimony, Enger did not mention any of the
defendants from this case, or their respective companies. Further, on September 9, 1997,
Enger denied previously hearing of Merit Distributors.
       In Bruton, the Supreme Court held it was insufficient for a court to instruct the jury that
a confession of one defendant implicating a co-defendant could only be considered against
the confessing defendant and not be held against another co-defendant. 391 U.S. at 137.
However, in Richardson, the Supreme Court allowed a redaction of such a statement as long
as the co-defendant’s name and existence are eliminated. 481 U.S. at 211. The Eighth
Circuit has “interpreted this requirement to allow the admission of confessions so long as the
confession is redacted to avoid either facially implicating or leading the jury directly to non-
testifying co-defendants.” United States v. Ortiz, 315 F.3d 873, 899 (8th Cir. 2003) (citing
United States v. Edwards, 159 F.3d 1117, 1125 (8th Cir. 1998)). However, when the jury
will be led to conclude the redacted party’s name is that of the co-defendant or will speculate
as to the identity, the Bruton prohibition will not be absolved. See United States v. Long,
900 F.2d 1270, 1279-80 (8th Cir. 1990).
       Here, Enger’s statement does not reference or mention the co-defendants or their
respective organizations. The only connection with the defendants is that Darin Asay, who is
discussed in the statement, is the son of defendant Donald Asay and the brother of defendant
Samowitz. The defendants contend the testimony which describes the business practices of
Enger also describes the same business practices allegedly used by the other defendants.
Further, the defendants argue, since counsel for the defendants cannot cross-examine Enger
regarding the testimony, prejudice arises based on Bruton. However, the court finds no
Bruton problem arises based on Enger’s grand jury testimony. Enger does not implicate the
co-defendants in his business operations. Further, the court does not anticipate that, upon
proper instruction, the jury will have great difficulty compartmentalizing the grand jury

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statements returning a verdict as to each defendant as to each count of the indictment.
Accordingly, the motion to sever will be denied.


       IT IS ORDERED:
       The Motion to Sever (Filing No. 267) is denied.


                                        ADMONITION
       Pursuant to NECrimR 57.2 any appeal of this Order shall be filed with the Clerk of the
Court within ten (10) days after being served with a copy of this Order. Failure to timely object
may constitute a waiver of any appeal. The brief in support of any appeal shall be filed at the
time of filing such appeal. Failure to file a brief in support of any appeal may be deemed an
abandonment of the appeal.
       DATED this 17th day of June, 2005.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge




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